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         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1053V
                                          UNPUBLISHED


    HANSABEN ANAND,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: June 28, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

       On August 21, 2020, Hansaben Anand filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) resulting from the adverse effects of an influenza vaccine
received on November 1, 2019. Petition at 1; Stipulation, filed June 27, 2022, at ¶¶ 2-4.
Petitioner further alleges that the vaccine was administered in the United States, she
experienced the effects of her condition for more than six months, and there has been no
prior award or settlement of a civil action for damages as a result of her condition. Petition
at ¶¶ 4, 26-28; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner sustained a
SIRVA Table injury or any other injury; denies that the vaccine caused petitioner’s alleged
shoulder injury, or any other injury; and denies that her current condition is a sequela of
a vaccine-related injury.” Stipulation at ¶ 6.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       Nevertheless, on June 27, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            A. A lump sum of $4,611.493 representing reimbursement of a Medicaid
               lien for services rendered to Petitioner by the State of New York, in the
               form of a check payable jointly to Petitioner and DEPARTMENT OF
               SOCIAL SERVICES (Case No. 962727):

                        New York City
                        Human Resources Administration
                        Division of Liens and Recovery
                        P.O. Box 414799
                        Boston, MA 02241-4799

      Petitioner agrees to endorse this check to the NYC Department of Social
Services.

            B. A lump sum of $72,000.00 in the form of a check payable to Petitioner.
               Stipulation at ¶ 8. This amount represents compensation for all items of
               damages that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.4

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
 This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or cause of
action the State of New York may have against any individual as a result of any Medicaid payments the
NYC Program has made to or on behalf of Hansaben Anand as a result of her allege vaccine-related injury
suffered on or about November 1, 2019, under Title XIX of the Social Security Act, see 42 U.S.C. § 300aa-
15(g), (h).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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